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 7

 8

 9                                UNITED STATES DISTRICT COURT
10
                                 CENTRAL DISTRICT OF CALIFORNIA
11

12                                                    Case No. 2:21-cv-3775-RSWL (JPRx)
     CHAIM WOLMARK,
13

14
                    Plaintiff,
                                                      JOINT RULE 26(f) REPORT
15     v.
16
     HYUNDAI MOTOR FINANCE, et al
17
                                                      Date: August 31, 2021
                                                      Time: 10:00 AM
18
                     Defendants.                      Courtroom: TBD, 1st Street

19

20           Under Federal Rule of Civil Procedure 26(f), Plaintiff Chaim Wolmark
21   (“Plaintiff”) and Defendants Hyundai Capital America dba Hyundai Motor Finance,
22   Trans Union, LLC, Equifax Information Services, LLC, and Experian Information
23   Solutions, Inc. (“Defendants”), by and through their undersigned counsel, submit the
24   following joint report:
25

26      A.      Statement of the Case & Principal Issues
27   Plaintiff: In May 2017, Plaintiff leased a vehicle from Defendant Hyundai Motor
28   Finance (“Defendant Hyundai”) and made timely lease payments until April 2020, at
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 1   which point his account was paid in full. Plaintiff then contacted Defendant Hyundai
 2   prior to the maturity date of May 2020 to make arrangements for returning the vehicle.
 3   After reaching out to several dealerships, Plaintiff was advised that their respective lots
 4   were full and that they could not accept any lease returns at that time. Plaintiff then
 5   contacted Hyundai Lease End Services who explained that in light of the COVID
 6   pandemic and Defendant Hyundai’s inability to accept lease returns at that time,
 7   Defendant Hyundai would give the Plaintiff a brief extension on the lease and that he
 8   would not incur any charges for said extension. Based on the representations made by
 9   Defendant Hyundai, the leased vehicle remained with the Plaintiff.
10         In or about June 2020, Plaintiff was then advised that should he decide to extend
11   his lease, a payment would need to be made for the upcoming month. Plaintiff
12   confirmed his prior understanding that he would not be charged for the previous
13   extension and that any payment that he made going forward would be applied toward
14   the next month. However, in July 2020, Plaintiff discovered that he had an outstanding
15   balance of approximately $800 on his account.
16         Plaintiff spoke with a number of Defendant Hyundai’s agents to rectify the billing
17   issue and despite several apologies from its agents, the issue went unresolved. In or
18   about September 2020, Plaintiff returned the leased vehicle and was charged only $75
19   for a missing key fob. Plaintiff did not receive any further bills or communications
20   from Defendant Hyundai and based on Defendant Hyundai’s conduct, Plaintiff believed
21   that he had no outstanding balances on his account.
22         In October 2020, Plaintiff found that Defendant Hyundai was reporting inaccurate
23   and adverse credit information regarding his account to the credit bureaus, (namely,
24   Defendants Trans Union, Equifax and Experian). Although Plaintiff disputed this credit
25   reporting with each of the Defendants, Plaintiff claims that Defendant Hyundai failed to
26   properly investigate his dispute and continued to report the account negatively to the
27   credit bureaus.
28

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 1         Based on the aforementioned conduct, Plaintiff filed his Complaint against the
 2   Defendants on May 4, 2021. Plaintiff alleges that the Defendants violated provisions of
 3   the Fair Credit Reporting Act (“FCRA”) or 15 U.S.C. §1681 et seq. and California's
 4   Consumer Credit Reporting Agencies Act (“CCRAA”) or California Civil Code
 5   §1785.1 et seq., which requires maximum accuracy with regard to consumer credit
 6   reporting. Plaintiff also has claims under the Rosenthal Fair Debt Collection Practices
 7   Act (“Rosenthal Act”) or California Civil Code §1788, et seq., which prohibits creditors
 8   and/or debt collectors from engaging in abusive, deceptive and unfair practices. In
 9   addition, Plaintiff alleges violations under the Consumer Leasing Act (“CLA”) (15
10   U.S.C. §§1667 et seq.), breach of contract and violations of California Business and
11   Professions Code §17200 et seq.
12

13   ISSUES: Whether the Defendants violated the above-referenced statutes and whether
14   said violations are per se violations of California Business and Professions Code §17200
15   et seq. Namely: (1) whether Defendant Hyundai caused inaccurate information to
16   appear on Plaintiff’s credit reports, which would thereby constitute violations of the
17   CCRAA and the Rosenthal Act; (2) whether Defendant Hyundai violated the FCRA by
18   failing to properly and reasonably investigate Plaintiff’s disputes; and (3) whether the
19   credit bureaus, Defendants Trans Union, Equifax and Experian, violated the FCRA by
20   failing to establish and/or follow reasonable procedures to assure maximum possible
21   accuracy on the Plaintiff’s credit reports.
22

23   Defendant Hyundai Capital America: On or around May 5, 2017, Plaintiff leased a
24   vehicle with Hyundai Capital America ("HCA") dba Hyundai Motor Finance. The
25   original lease term ended on May 5, 2020. On or around March 18, 2020, Plaintiff
26   called HCA and inquired about HCA's vehicle return process and lease extension
27   option. HCA informed Plaintiff that he would need to sign a lease extension agreement
28   to extend the lease. HCA also informed Plaintiff that lease extensions are on a month-
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 1   to-month basis up to six months. Moreover, HCA confirmed the maturity date was May
 2   5, 2020, which was when Plaintiff was required to return the vehicle.
 3         On or around April 28, 2020, Plaintiff called HCA and asked if HCA offered free
 4   extensions to return leased vehicles because some dealers were not accepting lease
 5   returns due to COVID-19 restrictions. HCA informed Plaintiff that he could have an
 6   extension as long as he did not intend to make an additional payment to extend his lease.
 7   HCA granted a two-week grace period until May 19, 2020 to return the vehicle.
 8         On or around May 22, 2020, several days after Plaintiff's grace period had ended,
 9   Plaintiff called HCA and asked for a further extension to return the vehicle. HCA
10   informed Plaintiff he could have additional time to return the vehicle "as long as his
11   intention is to return it." HCA further advised Plaintiff that "what can't happen" at the
12   end of the grace period is that "you want to keep [the vehicle]." In that case, "we
13   assume you wanted to keep it." With those stated qualifications, HCA extended
14   Plaintiff's grace period to June 3, 2020.
15         On or around June 3, 2020, Plaintiff again communicated with HCA and asked to
16   further extend the grace period for returning the vehicle. HCA agreed to extend
17   Plaintiff's grace period to June 15, 2020. On or around June 11, Plaintiff called HCA
18   and again asked to extend the grace period for returning the vehicle. HCA further
19   extended his grace period to June 18, 2020.
20         On or around June 18, 2020, Plaintiff called HCA and stated that he wanted to
21   enter into a lease extension agreement. HCA informed him that he would need to first
22   make a payment and then call back to obtain a lease extension. The next day, on or
23   around June 19, 2020, Plaintiff made a one-time payment, which covered the payment
24   that was due on May 5, 2020. Plaintiff also called HCA and requested a lease
25   extension.
26         On or around June 24, 2020, HCA received a signed Lease Extension Agreement
27   from Plaintiff ("Lease Extension"), pursuant to which Plaintiff agreed to extend his
28   lease on a month-to-month basis from the maturity date, May 5, 2020, up to a maximum
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 1   of six months, i.e., November 5, 2020. The Lease Extension also incorporated the terms
 2   of the original lease agreement. Those terms provide, in relevant part, that "[t]erms and
 3   promises, including oral promises, are not enforceable unless they are expressly
 4   contained in this Lease." See Original Lease Agreement (emphasis added). HCA
 5   processed the Lease Extension on or around June 29, 2020.
 6          Under the Lease Extension, Plaintiff owed payments for the months of June 2020
 7   and July 2020, neither of which Plaintiff paid. On or around July 3, 2020, several days
 8   after HCA processed the Lease Extension, HCA placed a courtesy call to Plaintiff to
 9   inform him that he had a past due balance. HCA placed additional courtesy calls to
10   Plaintiff to inform him he had a past due balance on or about July 6, 2020 and July 12,
11   2020. In addition to these courtesy calls, HCA mailed Plaintiff multiple monthly
12   statements and multiple notices of default.
13          Plaintiff ultimately returned the vehicle on or about September 18, 2020, but he
14   never submitted payments for June 2020 or July 2020. HCA therefore reported
15   Plaintiff's account as delinquent. Because Plaintiff failed to make payments for the
16   months of June and July, HCA's reporting of Plaintiff's delinquencies was accurate.
17   Moreover, HCA diligently investigated and thoroughly responded to any and all of
18   Plaintiff's disputes.
19

20   ISSUES: Whether Plaintiff executed the Lease Extension Agreement; whether Plaintiff
21   timely made payments due under the Lease Extension Agreement; whether HCA's
22   reporting of Plaintiff's delinquencies was accurate, whether HCA reasonably
23   investigated Plaintiff's credit disputes.
24

25   Defendant Experian Information Solutions, Inc.: Experian is a “consumer credit
26   reporting agency”, as that term is defined by the FCRA. Experian essentially functions
27   as a storehouse of credit information concerning hundreds of millions of consumers
28   nationwide, collecting and storing credit information originated by others. Experian
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 1   does not generate credit information itself, nor does it make loans, decide who should
 2   receive credit, or set loan terms.
 3         The FCRA is not a strict liability statute and does not require Experian to
 4   maintain error free credit reporting. Rather, Experian must maintain and follow
 5   reasonable procedures to assure the maximum possible accuracy of the information it
 6   reports on consumers. In recognizing that no credit reporting system can be error free,
 7   Congress specifically provided consumers with the ability to contact credit reporting
 8   agencies to dispute information appearing on their credit disclosures. In many instances,
 9   Experian’s procedures to ensure the maximum possible accuracy of the information it
10   reports requires notice from a consumer to alert Experian of a potential inaccuracy.
11         Experian denies Plaintiff’s claims. At all times relevant Experian maintained and
12   followed reasonable procedures to assure maximum possible accuracy with respect to
13   the information contained in Plaintiff’s consumer report. Experian further conducted a
14   reasonable reinvestigation into any information disputed by Plaintiff. At all times,
15   Experian acted in good faith and without any malice or intent to injure Plaintiff, and did
16   not act negligently. Accordingly, Experian has no liability in this case under FCRA,
17   and denies all liability to Plaintiff for any alleged damages.
18

19   ISSUES: The primary legal issues with respect to Experian are whether, with respect to
20   Plaintiff, the reporting of the Hyundai account was accurate; and whether Experian
21   employed reasonable procedures and conducted reasonable investigation(s) of
22   Plaintiff’s alleged dispute(s), which it maintains it did and thus, Plaintiff’s damages, if
23   any, cannot be contributed to Experian.
24

25   Defendant Trans Union, LLC: As discovery has just begun, Trans Union cannot
26   provide this Court with a complete factual background of the case as it relates
27   specifically to Plaintiff. Upon information and belief, Trans Union has accurately
28   reported credit information pertaining to the Plaintiff. Further, Trans Union properly
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 1   investigated Plaintiff’s disputes, if received, as required by the FCRA, updated the
 2   information as appropriate, and timely reported the results of those investigations to
 3   Plaintiff.     At all relevant times, Trans Union maintained and followed reasonable
 4   procedures to avoid violations of the Fair Credit Reporting Act and assure maximum
 5   possible accuracy of the information concerning Plaintiff in preparing consumer reports
 6   related to Plaintiff. Trans Union accepted information regarding Plaintiff from reliable
 7   sources.       Trans Union may reasonably rely upon the creditor, the party actually
 8   responsible for the reinvestigation under 1681 s-2(b). Trans Union has not acted with
 9   malice, negligent, willful or reckless intent to harm Plaintiff, nor with reckless or
10   conscious disregard for the rights of Plaintiff, and Trans Union has fully complied with
11   the FCRA. Trans Union will also show that any alleged damage suffered by Plaintiff
12   was not caused by Trans Union.
13          In addition, at this time Trans Union does not have knowledge or possession of
14   facts or documents controlled by the Plaintiff, Hyundai Motor Finance, Equifax
15   Information Services, LLC, and Experian Information Solutions, Inc. Therefore, this
16   statement is based on the facts known by Trans Union at this time. Trans Union makes
17   this statement without waiving any defense and reserves the right to supplement this
18   statement as the facts are developed.
19

20   ISSUES: The key legal issues will focus on the fact that Trans Union performed a
21   reasonable reinvestigation of Plaintiff’s disputes, if received, and had reasonable
22   procedures in place in assuring maximum possible accuracy of Plaintiff’s Trans Union
23   credit file.
24

25   Defendant Equifax Information Services, LLC: Plaintiff alleges that Equifax failed
26   to maintain reasonable procedures in violation of 15 U.S.C. § 1681e(b) and failed to
27   follow 15 U.S.C. § 1681i in responding to Plaintiff’s disputes. Plaintiff also alleges
28   violations of California Civil Code § 1785.14 and California Business Code § 17200. At
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 1   all relevant times herein, Equifax maintained reasonable procedures to ensure the
 2   maximum possible accuracy in its credit reporting concerning Plaintiff in accordance
 3   with the FCRA. Equifax has complied with the FCRA, the California state laws alleged
 4   and any other applicable laws in its handling of Plaintiff’s credit file, including
 5   responding to any disputes Plaintiff submitted to Equifax. Equifax denies that it engaged
 6   in any unfair and/or fraudulent acts. Equifax further denies that it proximately caused
 7   Plaintiffs to suffer any damages. Equifax incorporates herein any additional defenses
 8   stated in its Answer to the Complaint.
 9

10   ISSUES: The key legal issues will focus on the fact that Equifax performed a
11   reasonable reinvestigation of Plaintiff’s disputes, if received, and had reasonable
12   procedures in place in assuring maximum possible accuracy of Plaintiff’s Equifax credit
13   file.
14

15       B.       Discovery Plan & Proposed Discovery Cut-Off Date
16            The parties propose a discovery cut-off date of February 28, 2022 as the
17   completion date for all discovery. The proposed dates for initial expert witness
18   disclosures would be March 31, 2022 and April 30, 2022 for rebuttal. The parties
19   propose an expert discovery cut-off of May 15, 2022.
20

21   Plaintiff:     Plaintiff’s discovery (Requests for Document Production, Admissions,
22   Interrogatories and Depositions) will be directed toward the communications between
23   the Defendants and the Plaintiff, as they relate to any collection activity and credit
24   reporting on the aforementioned debt, the account notes on Plaintiff’s account, billing
25   statements and other relevant correspondence. Plaintiff anticipates taking the deposition
26   of at least one or two of agents of each Defendant who are most knowledgeable about:
27   (1) the Plaintiff’s account; (2) the credit reporting activity and/or records on Plaintiff’s
28   account; (3) the policies and procedures regarding the collection of similar accounts; (4)
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 1   the policies and procedures regarding the credit reporting of similar accounts; and (5)
 2   the process of investigating credit reporting disputes. Plaintiff may seek to use expert
 3   testimony, but at this time has not retained nor consulted with any experts.
 4

 5   Defendant Hyundai Capital America: HCA has propounded its first set of written
 6   discovery to Plaintiff. HCA intends to propound further written discovery depending on
 7   Plaintiff's responses. HCA also anticipates taking the deposition of Plaintiff and any
 8   witnesses Plaintiff identifies. HCA does not anticipate needing expert testimony, except
 9   as necessary to rebut any experts retained by Plaintiff.
10

11   Defendant Experian Information Solutions, Inc.: Experian anticipates propounding
12   written discovery and taking depositions of, including but not limited to, Plaintiff,
13   relevant third party witnesses and any expert(s) disclosed. Experian anticipates that it
14   will seek discovery on the following subjects: (1) dispute letters from Plaintiff to the
15   consumer reporting agencies and Plaintiff’s creditors; (2) documents related to the
16   alleged inaccurate accounts; and (3) documents that reflect any credit denial Plaintiff
17   has alleged to have suffered as a result of the facts alleged in this lawsuit.
18

19   Defendant Trans Union, LLC: Based on what is presently known, Defendant Trans
20   Union anticipates conducting discovery on the following: the facts and circumstances
21   surrounding the allegations in Plaintiff’s Complaint, the accuracy of the Hyundai Motor
22   Finance account, the alleged disposition of Plaintiff’s debt, communications between
23   Plaintiff and the Defendants, reinvestigations conducted by the Defendants,
24   communications between Plaintiff and his creditors, the facts and circumstances
25   surrounding Plaintiff’s alleged damages, causation relating to Plaintiff’s alleged
26   damages, the facts and circumstances surrounding any alleged adverse credit action,
27   Plaintiff’s credit history and usage, the facts and circumstances surrounding any third
28

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 1   parties who have allegedly received or reviewed Plaintiff’s consumer report; and any
 2   other issues raised by the pleadings or discovery.
 3

 4   Defendant Equifax Information Services, LLC:                   Defendant Equifax anticipates
 5   requesting written and paper discovery from Plaintiff, including documents relating to
 6   any credit denials or other documents/authorizations to obtain all evidence concerning
 7   damages alleged, dispute-related documents, or any other documents Plaintiff possesses
 8   in support of his claim. Equifax also anticipates conducting full discovery on the
 9   allegations in Plaintiff’s complaint, the accuracy of the tradeline(s) alleged to be
10   inaccurate, the Defendants’ reinvestigations and communications with Plaintiff
11   regarding the disputed tradeline(s), any communications between Plaintiff and any
12   creditors (potential or current) concerning the disputed tradeline(s). Equifax anticipates
13   conducting the deposition of Plaintiff. Equifax also anticipates conducting any
14   necessary third-party discovery, including any necessary third-party depositions.
15

16

17      C.      Motions & Proposed Dispositive Motion Cut-Off Date
18           The parties propose a motion cut-off date of June 15 , 2022.
19

20   Plaintiff: Plaintiff anticipates filing a Motion for Partial Summary Judgment, as to
21   liability and may request a separate hearing to assess Plaintiff’s damages. Said motion
22   will address whether the Defendants’ conduct violates the FCRA, CCRAA, the
23   Rosenthal Act, and the CLA as a matter of law.
24

25   Defendant Hyundai Capital America: HCA intends to file a motion for judgment on
26   the pleadings as to all of Plaintiff's claims against HCA. If necessary, HCA reserves the
27   right to file a motion for summary judgment and/or motions in limine.
28

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 1   Defendant Experian Information Solutions, Inc.: Experian anticipates filing a
 2   Motion for Summary Judgment if appropriate, and Motions in Limine.
 3

 4   Defendant Trans Union, LLC: Defendant Trans Union anticipates filing a Motion for
 5   Summary Judgment if appropriate, and Motions in Limine.
 6           The parties agree that there may be a need for discovery in this case to be
 7   governed by a protective order. If the parties agree concerning the need for and scope
 8   and form of such a protective order, their counsel will confer and then submit a jointly
 9   proposed protective order to the Court at such time. Such jointly proposed protective
10   orders must include, in the first paragraph, a concise but sufficiently specific recitation
11   of the particular facts in this case that would provide the court with an adequate basis
12   upon which to make the required finding of good cause pursuant to Fed. R. Civ. P.
13   26(c). If the parties disagree concerning the need for, and/or the scope or form of a
14   protective order, the party or parties seeking such an order shall file an appropriate
15   motion and supporting memorandum.
16

17   Defendant Equifax Information Services, LLC: Equifax anticipates filing a motion
18   for summary judgment, if appropriate, upon the close of discovery. Equifax reserves the
19   right to make any motions in limine that may be appropriate, and any Daubert motion,
20   subject to the expert disclosures.
21

22      D.      Settlement/ADR
23           Although the parties are in the midst of settlement discussions, no settlement has
24   been reached to date. Pursuant to Local Rule 16, the Plaintiff selects ADR Procedure
25   No. 1 and elects to appear before a mutually-selected magistrate judge from the Court’s
26   panel. The parties anticipate that ADR can be completed by March 1, 2022.
27

28

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 1      E.      Trial by Jury
 2           The parties propose a Final Pretrial Conference date of July 5, 2022 and a trial
 3   date of July 18, 2022.
 4

 5   Plaintiff: Plaintiff’s lead trial counsel will be Amir Goldstein. Plaintiff has made a
 6   timely demand for trial by jury. The trial is expected to last two to three days. Plaintiff
 7   contemplates calling 3-4 witnesses.
 8

 9   Defendant Hyundai Capital America: HCA's lead trial counsel will be Zachary C.
10   Frampton, Abraham J. Colman, and possibly other attorneys from the law firm of
11   Holland & Knight.
12

13   Defendant Experian Information Solutions, Inc.: Lead trial counsel will be Kelly
14   Albright of Jones Day. Experian anticipates trial would last 2-3 days.
15

16   Defendant Trans Union, LLC: Lead counsel -Kristin Marker and possibly other
17   attorneys from Quilling, Selander, Lownds, Winslett & Moser. Trans Union anticipates
18   trial would last 2-3 days, and potentially would call up to four witnesses (Plaintiff,
19   Trans Union witness, Plaintiff’s expert if applicable, Trans Union’s expert if applicable,
20   and potential third party witnesses as needed).
21

22   Defendant Equifax Information Services, LLC: Equifax’s lead counsel is Thomas P.
23   Quinn, Jr. Equifax expects the trial to last 2-3 days.
24

25      F.      Amendments & Additional Parties
26   Plaintiff: The Plaintiff’s Complaint has been filed with this Court. Although the
27   Plaintiff does not anticipate adding parties or amending the pleadings at this time, the
28   Plaintiff reserves the right to amend the pleadings and/or add parties should discovery
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 1   give rise to additional defendants.
 2

 3   Defendant Hyundai Capital America: HCA does not anticipate joining additional
 4   parties or amending its pleadings but reserves the right to do so.
 5

 6   Defendant Experian Information Solutions, Inc.: Experian does not anticipate
 7   adding additional parties or amending its pleadings, but it reserves the right to do so.
 8

 9   Defendant Trans Union, LLC: Trans Union does not anticipate adding additional
10   parties or amending its pleadings, but it reserves the right to do so.
11

12   Defendant Equifax Information Services, LLC: Equifax does not anticipate adding
13   any additional parties or amending its answer, but reserves the right to do so.
14

15      G.     Severance, Bifurcation & Ordering of Proof
16   Plaintiff: Plaintiff may request a separate hearing to assess Plaintiff’s damages once
17   liability is established through a dispositive motion.
18

19   Defendant Hyundai Capital America: HCA does not anticipate filing a request to
20   modify the trial schedule by severance, bifurcation, or the ordering of proof.
21

22   Defendant Experian Information Solutions, Inc.: Experian does not anticipate filing
23   a request for severance, bifurcation, or other ordering of proof at this time.
24

25   Defendant Trans Union, LLC: Trans Union does not believe this matter requires,
26   severance, bifurcation, or other ordering of proof.
27

28

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 1   Defendant Equifax Information Services, LLC:                        Equifax does not request
 2   bifurcation, severance, or other ordering of proof at this time.
 3

 4      H.        Other Issues
 5           i.     Service by E-mail
 6           The parties agree that pursuant to Rule 5(b)(2)(E) and 6(d) of the Federal Rules of
 7   Civil Procedure, any pleadings or other papers may be served by sending such
 8   documents by e-mail to the addresses listed below (or any updated e-mail address
 9   provided to all counsel of record):
10   Plaintiff: ajg@consumercounselgroup.com; jcl@consumercounselgroup.com
11   Defendant Hyundai Capital America: zac.frampton@hklaw.com;
12   abe.colman@hklaw.com.
13   Defendant Experian Information Solutions, Inc.: kalbright@jonesday.com
14   Defendant Trans Union, LLC: kmarker@qslwm.com
15   Defendant Equifax Information Services, LLC: cstieber@seyfarth.com;
16   madams@seyfarth.com; tquinn@nokesquinn.com; S-EquifaxAdmins@seyfarth.com;
17   Equifaxdocketing@seyfarth.com.
18

19           The parties do not anticipate any ESI preservation issues. Based on the nature of
20   this case, the parties believe that producing ESI in a reasonably usable format (e.g., hard
21   copy or .pdf) is appropriate and proportional to the needs of the case. Once the parties
22   have had the opportunity to review such documents, they may confer regarding any
23   additional exchange or production that the parties believe is necessary.
24           The parties also agree, upon request, to promptly (no later than the second
25   business day after the day of service) provide the sending party with confirmation of
26   receipt of the service by email. The format to be used for attachments to any email
27   message shall be Microsoft Word (.doc) or Adobe Acrobat (.pdf). However inadvertent
28   failure to promptly confirm receipt of such email does not amount to a failure of service.
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 1         ii.    Joint Request for Telephonic Appearances
 2         Should the Court choose not to vacate the scheduling conference based on the
 3   parties’ written submissions, the parties and their respective counsel, in light of the
 4   current pandemic, respectfully request that they be allowed to appear telephonically for
 5   the scheduling conference.
 6
     Dated: August 23, 2021                        Respectfully Submitted,
 7
                                                   Law Offices of Amir J. Goldstein
 8
                                                   By: /s/ Amir J. Goldstein
 9                                                     Amir J. Goldstein
                                                       Attorney for Plaintiff
10

11
                                                   HOLLAND & KNIGHT LLP
12

13                                                 By: /s/ Zachary C. Frampton
                                                       Zachary C. Frampton
14                                                     Attorney for Defendant
                                                       Hyundai Capital America
15

16
                                                   NOKES & QUINN
17
                                                   By: /s/ Thomas P. Quinn, Jr.
18                                                     Thomas P. Quinn
                                                       Attorney for Defendant
19                                                     Equifax Info. Services, LLC
20
                                                   Jones Day
21
                                                   By: /s/ Kelly Albright
22                                                     Kelly Albright
                                                       Attorney for Defendant
23                                                     Experian Info Solutions, Inc.
24

25                                                 Quilling, Selander, Lownds,
                                                   Winslett & Moser, P.C.
26
                                                   By: /s/ Kristin L. Marker
27                                                     Kristin L. Marker
                                                       Attorney for Defendant
28                                                     Trans Union LLC
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